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Attorney for Defendant

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA


 GALEN SWAN,                          )
                                        Case No. 3:15-cv-0012 JWS
                                      )
                    Plaintiff,        )
                                      )
       vs.                            )
                                      )
                                        NOTICE OF SETTLEMENT
 UNITED STATES OF AMERICA             )
                                      )
                    Defendant.        )
                                      )
                                      )


      The United States, through counsel, notifies the Court that the parties

have reached a settlement of the claims in this action. A stipulation for

dismissal will be filed after the parties complete the settlement documents

and proceedings, which is expected to take up to 90 days.




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        RESPECTFULLY SUBMITTED this 5th day of April, 2017, in

Anchorage, Alaska.

                                              BRYAN SCHRODER
                                              Acting United States Attorney

                                              s/Susan J. Lindquist
                                              Assistant U.S. Attorney
                                              Attorney for Defendant



CERTIFICATE OF SERVICE
I hereby certify that on April 5, 2017,
a copy of the foregoing
was served via electronic service on:

David Henderson, Esq.


s/Susan J. Lindquist




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